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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   ANTOIAN GRIFFIN,                                  No. 1:17-cv-01741-DAD-MJS
12                      Plaintiff,
13          v.                                         ORDER ADOPTING FINDINGS AND
                                                       RECOMMENDATIONS, DISMISSING
14   JEFFREY Y. HAMILTON and GARY A.                   CLAIM, AND DENYING MOTION TO
     HUNT,                                             PROCEED IN FORMA PAUPERIS
15
                        Defendants.                    (Doc. Nos. 2, 3)
16

17          Plaintiff Antoian Griffin proceeds pro se in this civil rights action brought against Judge

18   Jeffrey Y. Hamilton and attorney Gary A. Hunt. (Doc. No. 1.) The matter was referred to a

19   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302 of the

20   United States District Court for the Eastern District of California.

21          On December 29, 2017, the assigned magistrate judge screened plaintiff’s complaint and

22   determined that plaintiff’s claims under 42 U.S.C. § 1983 failed to state a claim upon which relief

23   may be granted and that, correspondingly, the court lacks jurisdiction over plaintiff’s state law

24   claims. (Doc. No. 3.) The magistrate judge also noted that plaintiff’s application to proceed in

25   forma pauperis was incomplete, but that since the action was without merit, the application

26   should simply be denied. (Id.) The magistrate judge recommended that plaintiff’s § 1983 claims

27   be dismissed without leave to amend. (Id.) The findings and recommendations provided plaintiff

28   with fourteen days in which to file objections thereto. On January 12, 2018, plaintiff filed
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 1   objections. (Doc. No. 4.)

 2          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), the undersigned has

 3   conducted a de novo review of this case. Having carefully reviewed the entire file, including

 4   plaintiff’s objections, the undersigned concludes the findings and recommendations are supported

 5   by the record and by proper analysis. Plaintiff’s citation to the decision in Cooper v. Aaron, 358

 6   U.S. 1, 18 (1958) is no-responsive to the analysis set out in the findings and recommendations

 7   here, as that decision does not address either judicial immunity or the principle that a private

 8   attorney does not act under color of state law for purposes of § 1983.

 9          Given the foregoing:

10      1. The findings and recommendations issued December 29, 2017 (Doc. No. 3) are adopted in

11          full;

12      2. The motion to proceed in forma pauperis (Doc. No. 2) is denied;

13      3. Plaintiff’s claims under 42 U.S.C. § 1983 are dismissed with prejudice;

14      4. Plaintiff’s state law claims are dismissed for lack of jurisdiction;

15      5. Plaintiff’s complaint is dismissed without leave to amend; and

16      6. The Clerk of the Court is directed to terminate any pending motions and close this case.

17   IT IS SO ORDERED.
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        Dated:      February 12, 2018
19                                                         UNITED STATES DISTRICT JUDGE

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